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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                                         Civil Minutes


Date: October 10, 2017                                                Judge: Hon. James Donato

Time: 45 Minutes

Case No.        C-14-03264-JD
Case Name       IN RE CAPACITORS ANTITRUST LITIGATION

Attorney(s) for Plaintiff(s):    Joseph Saveri/James G. B. Dallal/Nicomedes Sy Herrera/
                                 Joshua Davis/Scott Wagner/Robert Turken/Charles Tompkins/
                                 Adam Zapala
Attorney(s) for Defendant(s):    Darrell Prescott/Chul Pak/Jeffrey Bank/C. Dennis Loomis/
                                 Joy Kim/Michael Martinez/Megan Havstad/Ian Papendick/
                                 Eric Enson

Deputy Clerk: Lisa R. Clark                                        Court Reporter: JoAnn Bryce

                                        PROCEEDINGS

Motion for Settlement (Dkt. No. 1844) - Held

                                    NOTES AND ORDERS

The Court grants from the bench the indirect purchasers’ motion for preliminary approval of
settlements with defendants Hitachi Chemical and Soshin. Dkt. No. 1844. A written order will
follow.

The Court discusses with the parties -- including counsel for new opt-out plaintiffs AAVI, Avnet
and Benchmark -- case scheduling and other plaintiffs-side coordination issues. Plaintiffs Avnet
and Benchmark have not formally been made a part of this case by the JPML yet, but counsel for
those parties represent those plaintiffs are willing to proceed as though they are.

DPPs’ class counsel agrees to provide sufficient advance notice of depositions to counsel for the
new opt-out plaintiffs, and to share planned deposition exhibits at least 24 hours in advance of
depositions.

For plaintiffs’ request to take the videotaped deposition of Satoshi Okubo at the Lompoc
penitentiary, Dkt. Nos. 1885, 1886, the Court will call for a response from the government and
Mr. Okubo’s counsel.


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For the scheduling issues raised by the parties, Dkt. Nos. 1871, 1880, the Court orders the parties
to further meet and confer and to submit by October 18, 2017, a joint statement with a new
proposed case schedule. The meet and confer should include counsel for defendants, DPPs,
IPPs, Flextronics and the new opt-out plaintiffs (AASI, Avnet and Benchmark). The Court is not
inclined to extend the schedule by many months to accommodate the new opt-out plaintiffs at
this stage of the case, but the Court will almost certainly extend the case schedule by some
amount.




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